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                                                              FILED
                     United States District Court
                       Western District of Texas              APR   1   9j18
                            Austin Division              CLERK, U S.QIRIC1 COURT
                                                         WESTERN         CT OF TEXAS
United States of America            )
                                                                              0 E'UT   {
  Plaintiff/Respondent              )

                                    )

      Vs.                                       Case No. A-08-CR 337(1)LY
                                    )

George Lewis Escamilla,      Sr.    )

  Defendant/Petitioner              )




         Motion for Compassionate Release and/or Reduction
     in Sentence Program Under 18 U.S.C. Section 3582(c) (1)            (A)

Comes now, George L. Escamilla, Sr., Petitioner, acting in pro/se

in the above cause numbered and would show the court as follows:



                                Jurisdiction
Jurisdiction is vested in the governing authorities of the B.O.P.

program statement (5050.49) 18 U.S.C. Section 3582(c)          (1) (A)     and

U.S.S.G.    Amendment No. 799.



                            Procedural History

On 05/13/2008, petitioner was charged by indictment with

possession W.I.D., 5kgs or more of cocaine. Violation:             21 U.S.C.

Section 841(a)   (1) (b) (1) (A).   On       /2009 petitioner plead guilty

to the indictment. On 06/11/2009, defendant was sentenced to a

240 months term of imprisonment. New sentence imposed 192 months.



                         Statement of the Issues

I   Petitioner Respectfully Requests Consideration Based on an
    Incurable Progressive Illness and who has Suffered a
    Debilitating Injury From Which he will not Recover

II Petitioner Respectfully Requires Consideration Based on a

                                         1
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     Non-Medical Circumstance for Elderly Inmates who are 65 Years
     or Older

                             Argument Issue No.     1

I    Petitioner Respectfully Requests Consideration Based on an
     Incurable Progressive Illness and who has Suffered a
     Debilitating Injury From Which he will not Recover


Petitioner respectfully submits the following factors and

evaluation of circumstances in support for a compassionate

release, or reduction in sentence pursuant to 18 U.S.C. Section

3582(c)    (1) (A),   U.S.S.G. Section 1B1.13, and Amendment No. 799.



Petitioner respectfully requests a reduction in sentence based on

incurable progressive illness and a debilitating injury from

which he will not recover. In support of my requests,              I   pray that
you will consider the following medical conditions.

1)   I   am 65 years old. Three years ago      I   suffered a debilitating
injury during a Black Heel Illness, which caused me to have my

right leg amputated above the knee and having previously had my

left leg amputated below the knee. This classified my as a T3

paraplegic.

2)   I   am 100% disabled and rely on the compassion of other inmates

to assist me in most of my daily activities.

3)   Self care is extremely difficult for me and          I   am confined to
my wheelöhair 100% of my waking hours. Moreover, my quality of

life is dramatically diminished, and the cost of care is enormous

to the BOP compared to ambulatory and non-debilitated inmates.



Petitioner respectfully submits that he was convicted in 2009 of
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a    non-violent crime, and he does not pose any harm to the

community or any concern of being a threat to society.



                               Argument Issue No.   2

II Petitioner Respectfully Requires Consideration Based on a
   Non-Medical Circumstance for Elderly Inmates who are 65 Years
     or Older

Petitioner's request is based pursuant to program statement

Section 571.61(4)(b) elderly inmate with medical conditions.

1)    I   am 65 years of age, having been born on 06/20/1952, in

Junction, Texas.

2)   I    suffer from a chronic/serious medical condition, which is

also related to the aging process.

3)   I    have experienced a deteriorating physical/health condition,

Black Heel Illness, which is due to both knees having been

amputated about the knee. This substantially diminishes my

ability to function property in          a   correctional facility.
4)   Conventional treatment promises no substantial improvements to

my physical/health condition.

5)   I    have served 10 years of the 20 year sentence imposed. This

equates to 60% of my term completed. This qualifies me for

eligibility since        I   have served over 10 years of my sentence.



If approved for compassionate release/reduction in sentence I

will reside at: 901 Cactus Drive, Austin, Texas 78681 which is my

son's, Michael Escamilla, home residence.            I   will be able to take
care of my financial needs by and through my family's support.



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If released I will obtain medical insurance so that my medical

needs are met.    I   have finances available to me which are in

savings, and if the need arises my family members will assist me

whatever needs    I   lack. Wherein,    all my needs both medical and

otherwise will be paid without public assistance.



I   have programmed while incarcerated to the best of my ability,

and which I've been able to due to my medical conditions and age.

I   declare under penalty of perjury that all the information

contained herein is true and correct to the best of my knowledge

and belief.



Signed this           day of                2018


                                George Lewis Escamilla,Sr.       #43385-080

                               Conclusion
In 2016, the United States Sentencing Commission provided

Amendment No. 799 to the United States Sentencing Guidelines

whereby expanding the criteria for eligibility for compassionate

release under Title 18 U.S.C. Section 3582(c) (1). For the

non-terminal medical category, the amendment provides criteria to

include defendants who are:      inter alia, suffering from a serious

condition, or suffering from a serious functional or cognitive

impairment. Which these fore mentioned medical conditions

substantially diminish the defendant's ability to provide self
care within a correctional facility, and from which her is not

expected to recover. Petitioner respectfully submits that he fits

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squarely into both of these categories. The amendment states that

the second prong is intended to include a wide variety of

permanent, serious impairments and disabilities, whether

functional or cognitive, that make life in prison overly

difficult for certain inmates, like me. Wherefore, petitioner

prays that the honorable court grant the relief sought based on

good cause showing, and order the government to show cause.




Date                                             Respectfully Submitted,


                               George Lewis Escamilla, Sr. #43385-080
                                               Federal Medical Center
                                                       P.O. Box 15330
                                              Fort Worth, Texas 76119




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                         Certificate of Service
I   certify that a true and correct copy of the foregoing motion

was sent on this          day of April, 2018. As proof of service, by
U.S. mail, postage prepaid,       first class,
To: U.S. Attorney, Western District of Texas, Austin Division at

816 Congress Ave. Ste 100, Austin, Texas 78701 and that a copy

was served at the inmate's prison institution to Warden Eric D.

Wilson of Federal Medical Center, P.O. Box 15330, Fort Worth,

Texas 76119.




                                                     By:_______________
                                George Lewis Escainilla, Sr. #43385-080
                                                Federal Medical Center
                                                         P.O. Box 15330
                                               Fort Worth, Texas 76119
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